              Case3:05-cr-00568-VRW
             Case  3:05-cr-00568-EMC Document
                                      Document17
                                               18 Filed
                                                   Filed12/30/2005
                                                         01/09/06 Page
                                                                   Page1 1ofof2 2




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9                                   UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,                   )         No. CR 05 00568 VRW
                                                 )
14            Plaintiff,                         )         [PROPOSED] ORDER AND STIPULATION
                                                 )          EXCLUDING TIME FROM DECEMBER
15      v.                                       )         13, 2005 TO APRIL 11, 2006 FROM THE
                                                 )         SPEEDY TRIAL ACT CALCULATION
16   FRANK TYRAN CLARK and LARRY                 )         (18 U.S.C. § 3161(h)(8)(A)) AS TO
     McGEE,                                      )         DEFENDANT FRANK TYRAN CLARK
17                                               )
              Defendants.                        )
18
19      The parties appeared before the Honorable Vaughn R. Walker on December 13, 2005. The
20   Court enters this order scheduling a motion hearing on April 11, 2006 at 10:30 a.m., and
21   documenting the exclusion of time under the Speedy Trial Act, 18 U.S.C. § 3161(h)(1)(F) and
22   (h)(8)(A), from December 13, 2005 to April 11, 2006. The parties agreed, and the Court found
23   and held, as follows:
24      1. The parties have agreed to an exclusion of time under the Speedy Trial Act. Failure to
25   grant the requested continuance would unreasonably deny defense counsel reasonable time
26   necessary for effective preparation, taking into account the exercise of due diligence and the need
27   for counsel to further discuss the remaining discovery issues. In addition, failure to grant the
28   requested continuance would deny both the defendant and the government continuity of counsel,

     STIPULATION AND ORDER
     CR 05-00568 VRW
            Case3:05-cr-00568-VRW
           Case  3:05-cr-00568-EMC Document
                                    Document17
                                             18 Filed
                                                 Filed12/30/2005
                                                       01/09/06 Page
                                                                 Page2 2ofof2 2




1    in light of both counsel’s trial schedules in January and February 2006.

2       2. Given these circumstances, the Court found that the ends of justice served by excluding

3    the period from December 13, 2005 to April 11, 2006, outweigh the best interest of the public

4    and the defendant in a speedy trial. Id. § 3161(h)(8)(A).

5       3. Accordingly, and with the consent of the defendant, the Court ordered that the period from

6    December 13, 2005 to April 11, 2006 be excluded from Speedy Trial Act calculations under 18

7    U.S.C. § 3161(h)(8)(A) & (B)(iv).

8       4. The Court scheduled a motion hearing on April 11, 2006, at 10:30 a.m., before the

9    Honorable Vaughn R. Walker.

10      IT IS SO STIPULATED.

11
12   DATED: _______12/13/05_____________                   _________/s/_______________________
                                                           TRACIE L. BROWN
13                                                         Assistant United States Attorney

14
15   DATED: ________12/16/05______________                 _________/s/_______________________
                                                           GERI LYNN GREEN
16                                                         Attorney for FRANK TYRAN CLARK
                                                                  ISTRIC
17      IT IS SO ORDERED.                                    TES D      TC
                                                           TA
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18
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                                                     ED




                                                                                     RT


            January 6, 2006
     DATED:_____________________                           ________________________________
19
                                                 UNIT




                                                           THE HON. VAUGHN R. WALKER
20                                                         United States District Judge
                                                                                           R NIA




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     STIPULATION AND ORDER
     CR 05-00568 VRW                                 2
